Case 2:21-cv-00096-GAM Document 32 Filed 12/03/21 Page 1 of 4

LAMBIMcERLANE?E

ATTORNEYS AT LAW

 

Joseph R. Podraza, Jr., Esquire
Philadelphia Office
Phone: 215-609-3170

Email: jpodraza@lambmeerlane.com

December 3, 2021

VIA EMAIL

The Hon. Gerald A. McHugh

U.S. District Court for the Eastern District of Pennsylvania
9613 James A. Byrne U.S. Courthouse

601 Market Street

Philadelphia, PA 19106

Re: Walsh vy. Local 98, docket no 21-96
Dear Judge McHugh:

On today’s call, Your Honor inquired about the status of discovery. I have since pulled
the file and reviewed the letter dated October 26, 2021 to which counsel for the government
referred during our call. I’ve attached a copy of that letter for the court’s convenience. We
believe it is important that the Court have an accurate understanding of the communications
between counsel about discovery.

By way of context, the October 26 letter was submitted as a follow-up to an earlier
telephone conference between counsel conducted on October 20, 2021. The October 20 call was
requested on October 14, 2021 by counsel for the government after she received notice on
October 11 of Local 98’s proposed Rule 11 motion. During the October 20, 2021 call, counsel
discussed open discovery, the parties’ respective deficiency letters, and what impact the
proposed Rule 11 motion might have on these issues. We also discussed whether the Secretary
planned to oppose all, none, or part of the proposed Rule 11 motion, recognizing that the
Secretary’s decision inevitably would impact what issues remained in the case, and by extension,
the scope and/or necessity of further discovery and the need to litigate the respective discovery
deficiencies identified by the parties.

During the October 20 call, counsel for the government advised she would have to “go up
a lot of ladders on a motion like that,” but that she would be in a position to advise of the
Secretary’s position regarding the motion by November 5, 2021. On the same call, Local 98’s
counsel agreed to submit a response to the Secretary’s October 6 and October 8 letters, which
response is the October 26 letter attached hereto.

24 E. Market Street | POBox 565 | West Chester, PA 19381 | Phone: 610.430.8000 [| Fax: 610.692.0877
One South Broad Street | Suite 1500 | Philadelphia, PA 19107 | Phone: 215.609.3170 | Fax: 610.692.0877
3405 West Chester Pike | Newtown Square, PA 19073 | Phone: 610.353.0740 | Fax: 610.353.0745

www.lambmcerlane.com
Case 2:21-cv-00096-GAM Document 32 Filed 12/03/21 Page 2 of 4

Local 98’s position, articulated in the letter dated October 26, was that counsel for the
parties should reconvene in person to discuss discovery once the Secretary made known his
position regarding the proposed Rule 11 motion. In lieu of sharing his position on November 5 °

regarding the proposed Rule 11 motion, the Secretary moved on November 4 for partial
summary judgment.

As explained during our conference, under the circumstances, Local 98 understood the

Secretary’s filing for partial summary judgment to mean no further discovery was necessary. The
issue of discovery was never later raised until today.

We thank Your Honor for consideration of this letter.

Respectfully,

R. Podraza, Jr.
Encl.

  

Cc: Lauren DeBruicker (via email and ECF)

Lamb McErlane | 24 E. Market St.PO Box 565 | West Chester PA 19381 | Phone 610.430.8000 | fax 610.692.0877 |

www.lambmcerlane.com
Case 2:21-cv-00096-GAM Document 32 Filed 12/03/21 Page 3 of 4

LAMBIMcERLANE?PS

ATTORNEYS AT LAW

 

October 26, 2021
VIA EMAIL LAUREN. DEBRUICKER@USDOJ.GOV

Lauren DeBruicker, Esquire
Assistant United States Attorney
615 Chestnut Street, Suite 1250
Philadelphia, PA 19106

Re: Secretary Walsh v. Local 98, IBEW, CA No. 21-CV-96, ED, PA
~ Dear Ms. DeBruicker:

As we agreed in our recent telephone conference, this letter responds to your letters dated
October 6, 2021 and October 8, 2021. Initially, we do believe a response to both letters is
premature given the pendency of the Rule 11 challenge, the resolution of which should have a
material impact on discovery in this case. Furthermore, we submit that a face-to-face meeting to
discuss discovery after the Rule 11 issue is resolved would be more productive than exchanging
discovery letters. In anticipation thereof, should such a meeting remain necessary upon
resolution of the aforesaid challenge, we share several observations with the hope that some of
these issues might yet be resolved.

A. SECRETARY’S OCTOBER 8™ LETTER.

We appreciate the Secretary’s willingness to reconsider his position on some of the
discovery issues raised in our September 28, 2021 letter, including his agreement to produce
some of the responsive documents we requested. However, we are still unable to discern how
the deliberative and investigatory files privileges apply to any of the documents identified under
section C of our September 28" letter. Indeed, your letter of October 8" fails to explain how
these privileges are applicable despite our request for such clarification and despite that the
burden of establishing the existence of any privilege rests always on the party who asserts it.
Further, your October 8" letter fails to advise whether any of the identified documents contain
factual information, information which cannot be subject to either privilege. Finally, the October
8" letter fails to explain the nature of any pending investigation by DOL to justify the invocation
of the investigatory files privilege.

Similarly, the October 8" letter ignores addressing or explaining what investigation
supports the invocation of the investigatory file privilege over each of the documents identified
under Section D of our September 28" letter. Further, the October 8" letter fails to acknowledge
if any of the identified documents include facts which are not subject to the asserted privilege,
even if found to apply. We are entitled, under even the narrowest view of the privilege, to
discover the facts. Finally, the October 8" letter fails to address why your reference to the Draft
Report of Interview of J. Kerr during your questioning of Brother Battle at his deposition does
not constitute a waiver of any privilege asserted over that Report. That document must be made

24 E.Market Street | POBox 565 | West Chester, PA 19381 | Phone: 610.430.8000 | Fax: 610.692.0877
One South Broad Street | Suite 1500 | Philadelphia, PA 19107 | Phone: 215.609.3170 | Fax:610.692.0877
3405 West Chester Pike | Newtown Square, PA 19073 | Phone:610.353.0740 | Fax:610.353.0745

www.lambmcerlane.com

 
Case 2:21-cv-00096-GAM Document 32 Filed 12/03/21 Page 4 of 4

available to us. The Secretary cannot use the contents of a document as a sword during
deposition questioning and later shield the document from discovery through the invocation of
some privilege.

As noted above, the burden to establish the applicability of the asserted privileges rests
with the Secretary. We suggest to you that the October 8" letter fails to provide information
sufficient to satisfy Local 98 that the Secretary can meet his burden.

B. Secretary’s October 6" Letter.

Frankly, we are unable to follow exactly what the Secretary’s criticisms are regarding the
Union’s objections/responses to the voluminous interrogatories and requests propounded by the
Secretary. This is especially difficult given the lack of particularity in the Secretary’s objections,
opting instead to share broad legal principals without specific reference to the content of each the
responses identified. By way of illustration, Interrogatory No. 1 asks the Union to delineate all
current Leaders since 1990, etc. The discovery is obviously overly broad. But as problematic is
the fact that DOL maintains a website on which the names and positions of the Union “Leaders”
are specifically provided. Said another way, the responses to the interrogatory are more easily
accessible to and obtained by the Secretary than the Union. It would be an epic waste of time
and money for the Union to replicate that information which exists at the Secretary’s fingertips.
Likewise, the Secretary’s discovery focuses on communications between Brother Battle and
other Union representatives. But you already possess the response based on the two (2) days of
Brother Battle’s deposition. Moreover, the Secretary’s October 6" letter only broadly criticizes
Local 98’s various objections without discussing why, in the Secretary’s view, any of these
objections are improper in the particular context of a specific request or interrogatory such as in
the foregoing example.

Given the volume of the requests and potential complexity of the particularized
objections, we suggest meeting in person once the Rule 11 issue is resolved—once we know
what, if any, issues remain in this litigation—to discuss what of the requested information not
already in the Secretary’s possession remains relevant in this case. We suggest this approach will
yield a more economic and efficient means of addressing and resolving the genuine discovery
disputes that may still exist.

Please do not hesitate to contact me if you have any questions.

Very truly yours,
JO . PODRAZA, JR.
Ce: William T. Josem, Esquire (via email)
24 E. Market Street | POBox 565 | West Chester, PA 1938! | Phone:610.430.8000 | Fax:610.692.0877

One South Broad Street | Suite 1500 | Philadelphia, PA 19107 | Phone: 215.609.3170 | Fax: 610.692.0877
3405 West Chester Pike | Newtown Square, PA 19073 | Phone: 610.353.0740 | Fax:610.353.0745

www.lambmcerlane.com

 
